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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                       BILLINGS DIVISION

UNITED STATES OF AMERICA,                   CR-15-27-BLG-SPW-CSO-2

            Plaintiff,
                                                FINDINGS AND
      vs.                                  RECOMMENDATION OF
                                          U.S. MAGISTRATE JUDGE
HOPIE DANIELLE ALVAREZ, aka
Hopie White,

            Defendant.

     The Defendant, by consent, appeared before me under Fed. R.

Crim. P. 11 and entered a plea of guilty to Count I the Indictment,

which charges the crime of conspiracy to distribute methamphetamine

in violation of 21 U.S.C. § 846.

     After examining the Defendant under oath, the Court determined:

            1. That the Defendant is fully competent and capable of

     entering an informed and voluntary plea to the criminal offense

     charged against her;

            2. That the Defendant is aware of the nature of the charge

     against her and the consequences of pleading guilty to the charge;

            3. That the Defendant fully understands her pertinent

     constitutional rights and the extent to which she is waiving those
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     rights by pleading guilty to the criminal offense charged against

     her; and

              4. That her plea of guilty to the criminal offense charged

     against her is knowingly and voluntarily entered, and is

     supported by independent factual grounds sufficient to prove each

     of the essential elements of the offense charged.

     The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that Defendant fully

understands each and every provision of the agreement and that all of

the statements in the Plea Agreement are true.

     Therefore, I recommend that the Defendant be adjudged guilty of

the charge in the Indictment and that sentence be imposed.

     Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days after the filing of the

Findings and Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim.

P 59(b)(2).

     DATED this 9th day of March, 2016.

                              /s/ Carolyn S. Ostby
                              United States Magistrate Judge
